Case 2:03-Cv-02932-.]PI\/|-tmp Document 32 Filed 06/22/05 Page 1 of 3 Page|D 63

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wESTERN DIsTRICT oF TENNESSEE 05 JUN 22 PH 3= 5

WESTERN DIVISION
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JOSE OSCAR CHAVEZ, ANA PATRICIA ) W. D GF TN lvliil`v‘iPHlS
CHAVEZ, HAYDEE DURAN, CECILIA )
SANTOS, JOSE FRANCISCO CALDERON, )
JANE DOE I, JANE DOE II, and JOHN )
DOE, ) No. 03-2932 Ml/P
)
Plailltiffs, ) JURY TRIAL
)
v. )
)
NICOLAS CARRANZA, )
)
Defendant. )
AGREED ORDER

Pursuant to Rule 15(a) of the Federal Rules of Civil Procedure, the parties have given
their consent to file the Second Amended Complaint, Which is attached hereto and supercedes
the First Amended Complaint in its entirety. This Complaint amends the prior pleading in the
following material respects: (l) Plaintiffs Jose Oscar Chavez, Haydee Duran, and Jane Doe I
have Withdrawn as plaintiffs; (2) the plaintiffs have dropped their claims for cruel, inhuman, or
degrading treatment or punishment; (3) Plaintiff John Doe has added a claim for crimes against
humanity; and (4) some factual allegations have been revised in order to conform With deposition
testimony that has been taken since the filing of the First Amended Complaint. Accordingly, it is
hereby ORDERED that the attached Second Amended Complaint be flled and allowed to

supercede the prior pleading.

So ORDERED this 2 :Q_, day of TUKC , 20

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UNITED STATES B-IS=PR'I€T'JUDGE
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Respectfully submitted for entry:

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Honorable J on McCalla
US DISTRICT COURT

